           Case 2:20-cv-00302-SCJ Document 310-1 Filed 11/13/23 Page 1 of 1


                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA

                                                                )
______________________________,
FAIR FIGHT, INC., ET AL.,                                       )
                                      Plaintiff(s)              )
                                                                )          Case No. 2:20-cv-00302-SCJ
                      V.                                        )
                                                                )
______________________________,
ENGELBRECHT, ET AL,                                             )
                    Defendant(s)                                )


                            NOTICE OF FILING OF OFFICIAL TRANSCRIPT

        Notice is hereby given that an official transcript of a proceeding has been filed by the
court reporter/transcriber in the above-captioned matter. Counsel/Parties have twenty-one (21)
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Office public terminal.
                       ______________
                       11/13/2023                      __________________________________
                                                       Viola S. Zborowski
                              Date                                    Court Reporter


                           VERIFICATION OF FINANCIAL ARRANGEMENTS

          Proceeding Type:                ______________________________________________
                                          Bench Trial
                                          ______________________________________________
          Proceeding Date:                ______________________________________________
                                          10/26/23, 10/27/23, 10/30/23, 11/1/23, 11/2/23, 11/3/23, 11/7/23
                                          ______________________________________________
          Volume Number:                  ______________________________________________
                                          Volumes 1, 2, 3, 4, 5, 6 and 8
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      Notice is hereby given that financial arrangements for a copy of the transcript have been
made with the following individual(s): Uzoma Nkwonta, Esq., Tina Meng Morrison, Esq., Christina Ashley Ford, Esq.,
Jacob D. Shelly, Esq., Joel J. Ramirez, Esq., Marcos Mocine-McQueen, Esq., P. Gaspard, M. Depass, Jennifer Yun, Esq, Dana Paikowsky, Esq.,

_____________________________________________________________________________
Tim Mellett, Esq., Michael John Wynne, Esq.
as counsel/party in this case. He/She is to be provided with remote access to the transcript via
CM/ECF and PACER.

                       ______________
                       11/13/2023                      __________________________________
                                                       Viola S. Zborowski

                              Date                                    Court Reporter
